Case 23-12365-SLM             Doc 34     Filed 05/02/23 Entered 05/02/23 19:18:41              Desc Main
                                        Document      Page 1 of 4


UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEW JERSEY

Caption in Compliance with D.N.J. LBR 9004-1(b)

RABINOWITZ, LUBETKIN & TULLY, LLC
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Barry J. Roy
Jeffrey A. Cooper
Proposed Counsel to Debtors
In Re:                                                         Case No.:    23-12365 (SLM)

MASAHIKO NEGITA and YASUKO NEGITA,                             Judge:       Meisel

                          Debtors.                             Chapter:    11 (Subchapter V)


                
                       APPLICATION FOR RETENTION OF PROFESSIONAL


1.       The applicant,     Masahiko Negita and Yasuko Negita , is the (check all that apply):

         ☐Trustee:               ☐Chap. 7                ☐Chap. 11          ☐Chap. 13.

         Debtor:                 Chap. 11                ☐Chap. 13

         ☐Official Committee of _______________________________________


2.       The applicant seeks to retain the following professional Coldwell Banker Realty
(“Coldwell”) to           serve as (check all that apply):

         ☐Attorney for:           ☐Trustee                 ☐Debtor-in-Possession

         ☐Official Committee of _______________________________________

         ☐Accountant for:         ☐Trustee                 ☐Debtor-in-possession

         ☐Official Committee of _______________________________________




         Other Professional:
Case 23-12365-SLM        Doc 34      Filed 05/02/23 Entered 05/02/23 19:18:41                   Desc Main
                                    Document      Page 2 of 4




              Realtor                 ☐Appraiser              ☐Special Counsel

              ☐Auctioneer              ☐Other (specify): __________________________________


3.    The employment of the professional is necessary because:
      The Debtors require a real estate broker to sell real property owned by the Debtors in
      Tenafly, New Jersey.


4.    The professional has been selected because:


      of its considerable experience in the field of real estate sales. The Debtors believe that
      Coldwell is well qualified to represent them in this Chapter 11.


5.    The professional services to be rendered are as follows:


              a. Provide real estate broker services;

              b. Introduce potential buyers to the Debtors’ property; and

              c. Perform such other services in connection with the sale of Debtors’ real estate
      as may be necessary and appropriate.




6.    The proposed arrangement for compensation is as follows: It is contemplated that Coldwell
      will be compensated for the services described herein at a commission rate of 5% of the
      purchase price of the real property owned by the Debtors pursuant to the provisions of §§
      330 and 331 of the Bankruptcy Code. Payment to Coldwell of any commission incurred
      shall occur only upon notice to all interested parties, including the United States Trustee,
      pursuant to §§ 330 and 331 of the Code.


7.    To the best of the applicant’s knowledge, the professional’s connection with the debtor, creditors,
      any other party in interest, their respective attorneys and accountants, the United States trustee, or
                                                    2
Case 23-12365-SLM          Doc 34      Filed 05/02/23 Entered 05/02/23 19:18:41                  Desc Main
                                      Document      Page 3 of 4




        any person employed in the office of the United States trustee, is as follows:

        None

        ☐Describe connection:


8.      To the best of the applicant’s knowledge, the professional (check all that apply):

        does not hold an adverse interest to the estate.

        does not represent an adverse interest to the estate.

        is a disinterested person under 11 U.S.C. § 101(14).

        ☐does not represent or hold any interest adverse to the debtor or the estate with respect
        to the matter for which he/she will be retained under 11 U.S.C. § 327(e).

        ☐Other; explain: _______________________________________________________
        _______________________________________________________________________

        _______________________________________________________________________


9.      If the professional is an auctioneer, appraiser or realtor, the location and description of the
        property is as follows: 8 Floral Terrace, Tenafly, New Jersey


The applicant respectfully requests authorization to employ the professional to render services in
accordance with this application, with compensation to be paid as an administrative expense in such
amounts as the Court may determine and allow.



Date: May 2, 2023                                          /s/ Masahiko Negita
                                                            Signature of Applicant


                                                            /s/_Yaskuko Negita_________________
                                                           Signature of Applicant




                                                      3
Case 23-12365-SLM   Doc 34    Filed 05/02/23 Entered 05/02/23 19:18:41   Desc Main
                             Document      Page 4 of 4




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                                        4
